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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA      :
                              :                       Case No. 1:21-cr-00235 (RC)
     v.                       :
                              :
RICHARD FRANKLIN BARNARD and, :
JEFFREY SHANE WITCHER         :
                              :
          Defendants.         :

                    GOVERNMENT’S SENTENCING MEMORANDUM

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence Jeffrey Shane Witcher to sixty days home detention, 36 months’ probation, 60

hours of community service and $500 in restitution.

   I.      Introduction

        The defendant, Jeffrey Shane Witcher (“Witcher), and his close friend and co-defendant

Richard Franklin Barnard (“Barnard”) participated in the January 6, 2021 attack on the United

States Capitol—a violent attack that forced an interruption of the certification of the 2020 Electoral

College vote count, threatened the peaceful transfer of power after the 2020 Presidential election,

injured more than one hundred law enforcement officers, and resulted in more than one million

dollars’ of property damage.

        Witcher pleaded guilty to one count of 18 U.S.C. § 1752(a)(1): Entering and Remaining in

a Restricted Building or Grounds. As explained herein, a sentence of thirty days’ home detention

is appropriate in this case because: (1) he entered the U.S. Capitol building with a large crowd of

rioters; (2) he was aware of the fact that he was not authorized to be inside the building, evidenced

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by his shouting at law enforcement “[d]on’t be a traitor! Fulfill your constitutional duties, man.

Do or die!”;(3) he penetrated into the Crypt portion of the U.S. Capitol, where violence between

rioters and law enforcement was occurring around him, to include rioters overrunning the police

line; (4) he recorded his activities inside the building, to include his participation in shouting and

chanting directed at law enforcement, and; (5) he admitted to deleting evidence from his phone

while at the airport traveling home from the District. To be clear, in coming to this sentencing

recommendation the government considered several mitigating factors as well, to include the

defendant’s early cooperation with law enforcement, which included identifying the co-defendant

and providing his contact information during a voluntary interview with the FBI 1, his entering into

a plea agreement at the first available opportunity, and his coming to the aid of a law enforcement

officer inside the U.S. Capitol building when the scene turned violent inside the Crypt.

        Even if Witcher didn’t personally engage in violence or property destruction during the

riot, he was part of a mob of rioters who unlawfully entered the U.S. Capitol, and then shouted and

chanted at law enforcement. Not surprisingly, this chaotic scene in the Crypt quickly turned

violent, putting law enforcement officers in danger while staring down a large and angry crowd of

rioters. While inside the building the defendant took several videos on his phone, to include him

participating in the “[w]ho’s house, our house” chant, calling the law enforcement officers inside

the building “traitors,” and screaming at officers “don’t forget your oath.”

        The Court must also consider that the defendant’s conduct on January 6, like the conduct

of scores of other defendants, took place in the context of a large and violent riot that relied on

numbers to overwhelm law enforcement, breach the Capitol, and disrupt the proceedings. But for



1
 The defendant cooperated with law enforcement from the beginning of this investigation, to include providing a
voluntary and fulsome interview on January 19, 2021 and sending law enforcement videos from his phone that he
had taken on January 6th inside the U.S. Capitol building.

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his actions alongside so many others, the riot likely would have failed. See United States v.

Matthew Mazzocco, 1:21-cr-00054 (TSC), Tr. 10/4/2021 at 25 (“A mob isn't a mob without the

numbers. The people who were committing those violent acts did so because they had the safety

of numbers.”) (statement of Judge Chutkan). Here, the defendant’s participation in a riot that

actually succeeded in halting the Congressional certification combined with his actions inside the

building that fueled an already contentious environment, renders a term of home detention both

necessary and appropriate in this case.

   II.      Factual and Procedural Background

                            The January 6, 2021 Attack on the Capitol

         To avoid exposition, the government refers to the general summary of the attack on the

U.S. Capitol. See ECF 21 (Statement of Offense), at 1-7. As this Court knows, a riot cannot occur

without rioters, and each rioter’s actions – from the most mundane to the most violent –

contributed, directly and indirectly, to the violence and destruction of that day. With that backdrop

we turn to the defendant’s conduct and behavior on January 6.

                Jeffrey Witcher’s Role in the January 6, 2021 Attack on the Capitol

         On January 5, 2021, Witcher and Barnard traveled to Washington, D.C. from their homes

in Texas to attend the “Stop the Steal” rally and stayed at the Moxy hotel in the District that

evening. The next day (January 6th), Witcher and Barnard attended the “Stop the Steal Rally” and

then joined the large crowds of people walking to the Capitol. At the time the U.S. Capitol building

was initially breached, Witcher was approximately 300 yards away from the building. Shortly

thereafter, at approximately 2:19 p.m., Witcher and Barnard joined a large crowd of rioters making

entry into the U.S. Capitol near the Rotunda portion of the building, ultimately making their way

to the Crypt (image below).



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                             Figure 1 Witcher (right) – Barnard (left) with timestamp
                                      Retrieved from Witcher’s Cellphone

       Once inside the building, in a video retrieved from his cellphone, Witcher can be heard

shouting “I am in the White House! We crashed this! Our house! We did it! [. . .] I’m out here with




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my brother Richard Barnard [. . .]” 2 During his subsequent interview with the FBI, Witcher

clarified that he was so emotional and invested in the moment that he briefly forgot he was in the

Capitol building. In a second video, also retrieved from Witcher’s phone, he stated “[w]e’re in the

Rotunda! Our house (repeatedly)! Don’t be a traitor, fulfill your constitutional duties (directed at

law enforcement)! Do or die!” Later in the video Witcher can be heard saying “[d]on’t do that,”

in reference to other rioters beginning to push up against the police line and become violent with

law enforcement officers stationed inside the building. Shortly after this both Witcher and Barnard

came to the aid of a U.S. Capitol Police Officer who was caught in the mob of rioters, which at

this point had turned violent when other rioters attempted to overrun the police line. Witcher and

Barnard then moved towards an exit and exited the U.S. Capitol building, spending roughly 15-20

minutes inside total.

                                         Jeffrey Witcher’s Interview

        On January 19, 2021, Witcher made unsolicited contact with the FBI, stating that he was

anxious to meet and conduct an interview regarding his involvement in the events of January 6.

Witcher also agreed to bring his phone to the interview, and acknowledged deleting certain

pictures and videos depicting his actions at the Capitol while he was at the airport traveling home

from the District. Witcher was subsequently interviewed in person by the FBI on January 19,

2021, where he provided a fulsome statement concerning his actions on January 6th at the U.S.

Capitol and provided consent for law enforcement to search his cellphone. Specifically, Witcher

stated that the reason he was present in the District on January 6th was to take part in civil

disobedience in order to facilitate a dialogue. Witcher also identified himself, as well as




2
  The videos retrieved from the defendant’s phone will be appended to this pleading as Exhibits A-C and provided to
the Court separately.

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Barnard, in photos and videos the FBI retrieved from his phone showing both defendants inside

the U.S. Capitol on January 6th, and provided the FBI with contact information for Barnard.

                                   The Charges and Plea Agreement

          On February 24, 2021, Jeffrey Witcher was charged by complaint with violating 40 U.S.C.

§§ 5104(e)(2)(D) and (G), and 18 U.S.C. § 1512(c)(2) . On February 25, 2021, he was arrested at

his home in Texas. On March 19, 2021, Witcher was charged by five-count indictment with 18

U.S.C. §§ 1512(c)(2), 1752(a)(1) and (2) and 40 U.S.C. §§ 5104(e)(2)(D) and (G). On October 20,

2021, he pleaded guilty to Count Two of the Indictment, charging him with a violation of 18 U.S.C.

§ 1752(a)(1), Unlawfully Entering or Remaining in a Restricted Building or Grounds. By plea

agreement, Witcher agreed to pay $500 in restitution to the Department of the Treasury.

   III.      Statutory Penalties

          The defendant now faces sentencing on a single count of 18 U.S.C. § 1752(a)(1). As noted

by the plea agreement, the defendant faces up to one year of imprisonment and a fine of up to

$100,000. The defendant must also pay restitution under the terms of his or her plea agreement.

See 18 U.S.C. § 3663(a)(3); United States v. Anderson, 545 F.3d 1072, 1078-79 (D.C. Cir. 2008).

                         The Sentencing Guidelines and Guidelines Analysis

          As the Supreme Court has instructed, the Court “should begin all sentencing proceedings

by correctly calculating the applicable Guidelines range.” United States v. Gall, 552 U.S. 38, 49

(2007). “As a matter of administration and to secure nationwide consistency, the Guidelines

should be the starting point and the initial benchmark” for determining a defendant’s sentence.

Id. at 49. The United States Sentencing Guidelines (“U.S.S.G.” or “Guidelines”) are “the product

of careful study based on extensive empirical evidence derived from the review of thousands of




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individual sentencing decisions” and are the “starting point and the initial benchmark” for

sentencing. Id. at 49.

         The government agrees with the Sentencing Guidelines calculation set forth in the PSR.

According to the PSR, the U.S. Probation Office calculated Witcher’s adjusted offense level

under the Sentencing Guidelines as follows:

         Base Offense Level (U.S.S.G. §2B2.3(a))                                                     4
         Specific Offense Characteristics (U.S.S.G. §2B2.3(b)(1)(A))                                 23
         Acceptance of Responsibility (USSG §3E1.1(a))                                              -2
         Total Adjusted Offense Level                                                                4

See PSR at ¶¶ 33-42.

         The U.S. Probation Office calculated Witcher’s criminal history as a category I, which is

not disputed. PSR at ¶ 5. Accordingly, the U.S. Probation Office calculated Witcher’s total

adjusted offense level, after acceptance, at 4, and his corresponding Guidelines imprisonment

range at 0-6 months. PSR at ¶ 95. Witcher’s plea agreement contains an agreed-upon Guidelines

calculation that mirrors the U.S. Probation Office’s calculation.

         “The Guidelines as written reflect the fact that the Sentencing Commission examined tens

of thousands of sentences and worked with the help of many others in the law enforcement

community over a long period of time in an effort to fulfill [its] statutory mandate.” Rita, 551

U.S. at 349. As required by Congress, the Commission has “‘modif[ied] and adjust[ed] past

practice in the interests of greater rationality, avoiding inconsistency, complying with

congressional instructions, and the like.’” Kimbrough v. United States, 552 U.S. 85, 96 (2007);



3
  As noted in the government’s objection to the PSR, the PSR incorrectly applies this specific offense characteristic
because the trespass occurred “at a secure government facility” under U.S.S.G. §2B2.3(b)(1)(A)(i). PSR ¶ at 32. As
indicated in the defendant’s plea agreements, the specific offense characteristic applies because the trespass occurred
“at any restricted building or grounds” under U.S.S.G. §2B2.3(b)(1)(A)(vii). ECF No. 35 at 3. On January 6, 2021,
the U.S. Capitol was restricted because protectees of the United States Secret Service were visiting. See 18 U.S.C. §
1752(c)(1)(B). Because a two-level increase applies under either theory, there is no difference to the final offense
level.

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28 U.S.C. § 994(m). In so doing, the Commission “has the capacity courts lack to ‘base its

determinations on empirical data and national experience, guided by professional staff with

appropriate expertise,’” and “to formulate and constantly refine national sentencing standards.”

Kimbrough, 552 U.S. at 108. Accordingly, courts must give “respectful consideration to the

Guidelines.” Id. at 101. As the Third Circuit has stressed:

               The Sentencing Guidelines are based on the United States
               Sentencing Commission’s in-depth research into prior sentences,
               presentence investigations, probation and parole office statistics,
               and other data. U.S.S.G. §1A1.1, intro, comment 3. More
               importantly, the Guidelines reflect Congress’s determination of
               potential punishments, as set forth in statutes, and Congress’s
               on-going approval of Guidelines sentencing, through oversight of
               the Guidelines revision process. See 28 U.S.C. § 994(p) (providing
               for Congressional oversight of amendments to the Guidelines).
               Because the Guidelines reflect the collected wisdom of various
               institutions, they deserve careful consideration in each case.
               Because they have been produced at Congress's direction, they
               cannot be ignored.

United States v. Goff, 501 F.3d 250, 257 (3d Cir. 2005). “[W]here judge and Commission both

determine that the Guidelines sentences is an appropriate sentence for the case at hand, that

sentence likely reflects the § 3553(a) factors (including its ‘not greater than necessary’

requirement),” and that significantly increases the likelihood that the sentence is a reasonable

one.” Rita, 551 U.S. at 347 (emphasis in original). In other words, “the Commission’s

recommendation of a sentencing range will ‘reflect a rough approximation of sentences that

might achieve § 3553(a)’s objectives.’” Kimbrough, 552 U.S. at 89.

       Here, while the Court must balance all of the § 3553 factors to fashion a just and

appropriate sentence, the Guidelines unquestionably provide the most helpful benchmark. As this

Court knows, the government has charged a considerable number of persons with crimes based

on the January 6 riot. This includes hundreds of felonies and misdemeanors that will be subjected



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to Guidelines analysis. In order to reflect Congress’s will—the same Congress that served as a

backdrop to this criminal incursion—the Guidelines will be a powerful driver of consistency and

fairness moving forward.

   IV.      Sentencing Factors Under 18 U.S.C. § 3553(a)

         In this misdemeanor case, sentencing is also guided by 18 U.S.C. § 3553(a), which

identifies the factors a court must consider in formulating the sentence. Some of those factors

include: the nature and circumstances of the offense, § 3553(a)(1); the history and characteristics

of the defendant, id.; the need for the sentence to reflect the seriousness of the offense and promote

respect for the law, § 3553(a)(2)(A); the need for the sentence to afford adequate deterrence, §

3553(a)(2)(B); and the need to avoid unwarranted sentence disparities among defendants with

similar records who have been found guilty of similar conduct. § 3553(a)(6). In this case, as

described below, the Section 3553(a) factors weigh in favor of home detention.

            A. The Nature and Circumstances of the Offense

         The attack on the U.S. Capitol, on January 6, 2021 is a criminal offense unparalleled in

American history. It represented a grave threat to our democratic norms; indeed, it was the one of

the only times in our history when the building was literally occupied by hostile participants. By

its very nature, the attack defies comparison to other events.

         While each defendant should be sentenced based on their individual conduct, as we now

discuss, this Court should note that each person who entered the Capitol on January 6 without

authorization did so under the most extreme of circumstances. As they entered the Capitol, they

would—at a minimum—have crossed through numerous barriers and barricades and heard the

throes of a mob. Depending on the timing and location of their approach, they also may have




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observed extensive fighting with law enforcement officials and smelled chemical irritants in the

air. No rioter was a mere tourist that day.

       Additionally, while looking at the defendant’s individual conduct, we must assess such

conduct on a spectrum. This Court, in determining a fair and just sentence on this spectrum, should

look to a number of critical factors, to include: (1) whether, when, how the defendant entered the

Capitol building; (2) whether the defendant encouraged violence; (3) whether the defendant

encouraged property destruction; (4) the defendant’s reaction to acts of violence or destruction;

(5) whether during or after the riot, the defendant destroyed evidence; (6) the length of the

defendant’s time inside of the building, and exactly where the defendant traveled; (7) the

defendant’s statements in person or on social media; (8) whether the defendant cooperated with,

or ignored commands from law enforcement officials; and (9) whether the defendant demonstrated

sincere remorse or contrition. While these factors are not exhaustive nor dispositive, they help to

place each defendant on a spectrum as to their fair and just punishment.

       To be clear, had the defendant personally engaged in violence or destruction, he or she

would be facing additional charges and/or penalties associated with that conduct. The absence of

violent or destructive acts on the part of the defendant is therefore not a mitigating factor in

misdemeanor cases, nor does it meaningfully distinguish the defendant from most other

misdemeanor defendants. The defendant’s lack of violence and property destruction explains why

he was permitted to plead to a misdemeanor rather than felony.

       Witcher entered the building, with a large group of rioters, at approximately 2:19 p.m.,

close in time to when the original breach of the building occurred and remained inside the building

for roughly 15-20 minutes. Although Witcher did not directly partake in the violence or destruction

of property that enabled rioters to breach the building, he was close enough to the initial breach



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that he would have seen the forcible entry, and law enforcement’s attempts to prevent the rioters

from entering. Moreover, although Witcher did not encourage violence or property destruction, he

did participate in chants and shouting directed at law enforcement, to include calling them

traitors and directing them to “remember their oath”, adding to an already chaotic and dangerous

situation. Finally, Witcher admitted to deleting evidence from his phone.

           To be clear, Witcher did come to the aid of law enforcement when it appeared the rioters

inside the building were becoming violent, and also discouraged other rioters around him

from being violent or destructive. Additionally, Witcher was cooperative and forthright with

the FBI during this investigation, gave the FBI access to his phone, and expressed sincere

contrition during the plea hearing. Accordingly, the nature and the circumstances of this offense

establish the clear need for a sentence of home detention in this matter.

               B. The History and Characteristics of the Defendant

           As set forth in the PSR, Jeffrey Witcher’s criminal history consists of a 35 year old

misdemeanor conviction for Assault with Bodily Injury. PSR at ¶¶ 44. 4 Witcher reported to the

PSR writer that he enlisted in the U.S. Marine Corps in 1982 and was honorably discharged

in 1993. It appears the defendant also served in the U.S. Army from 2004 to 2014.

Witcher is currently unemployed, however he has a 100 percent disability rating and receives

disability and other related pay on a monthly basis.

           While Witcher’s military service is laudable, it renders his conduct on January 6 all the

more troubling. His voluntary decision to storm a guarded government building is disturbing in

light of his former military service and training. In this case, Witcher’s former military

service makes his conduct on January 6 all the more egregious and demonstrates a need for

specific deterrence.

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    The defendant’s criminal record also included a history of uncharged assaultive conduct.

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            C. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
               and Promote Respect for the Law

         The attack on the U.S. Capitol building and grounds was an attack on the rule of law. “The

violence and destruction of property at the U.S. Capitol on January 6 showed a blatant and

appalling disregard for our institutions of government and the orderly administration of the

democratic process.” 5 As with the nature and circumstances of the offense, this factor supports a

sentence of incarceration, as it will in most cases, including misdemeanor cases, arising out of the

January 6 riot. See United States v. Joshua Bustle and Jessica Bustle, 21-cr-238-TFH, Tr. 08/24/21

at 3 (“As to probation, I don't think anyone should start off in these cases with any presumption of

probation. I think the presumption should be that these offenses were an attack on our democracy

and that jail time is usually -- should be expected”) (statement of Judge Hogan).

            D. The Need for the Sentence to Afford Adequate Deterrence

         Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).

         General Deterrence

         The demands of general deterrence weigh in favor of incarceration, as they will for nearly

every case arising out of the violent riot at the Capitol. Indeed, general deterrence may be the most

compelling reason to impose a sentence of incarceration. For the violence at the Capitol on January

6 was cultivated to interfere, and did interfere, with one of the most important democratic processes



5
 Federal Bureau of Investigation Director Christopher Wray, Statement before the House
Oversight      and      Reform      Committee       (June     15,     2021),   available           at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Wray%20
Testimony.pdf
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we have: the peaceful transfer of power to a newly elected President. As noted by Judge Moss

during sentencing, in United States v. Paul Hodgkins, 21-cr-188-RDM:

       [D]emocracy requires the cooperation of the governed. When a mob is prepared to
       attack the Capitol to prevent our elected officials from both parties from performing
       their constitutional and statutory duty, democracy is in trouble. The damage that
       [the defendant] and others caused that day goes way beyond the several-hour delay
       in the certification. It is a damage that will persist in this country for decades.

Tr. at 69-70. Indeed, the attack on the Capitol means “that it will be harder today than it was seven

months ago for the United States and our diplomats to convince other nations to pursue democracy.

It means that it will be harder for all of us to convince our children and our grandchildren that

democracy stands as the immutable foundation of this nation.” Id. at 70; see United States v.

Thomas Gallagher, 1:21-CR-00041 Tr. 10/13/2021 at 37 (“As other judges on this court have

recognized, democracy requires the cooperation of the citizenry. Protesting in the Capitol, in a

manner that delays the certification of the election, throws our entire system of government into

disarray, and it undermines the stability of our society. Future would-be rioters must be

deterred.”) (statement of Judge Nichols at sentencing).

       The gravity of these offenses demands deterrence. This was not a protest. See United States

v. Paul Hodgkins, 21-cr-188-RDM, Tr. at 46 (“I don’t think that any plausible argument can be

made defending what happened in the Capitol on January 6th as the exercise of First Amendment

rights.”) (statement of Judge Moss). And it is important to convey to future potential rioters—

especially those who intend to improperly influence the democratic process—that their actions

will have consequences. There is possibly no greater factor that this Court must consider.

       Specific Deterrence

       Jeffrey Witcher’s words and actions on January 6th demonstrate a need for specific

deterrence, however the government believes that end can be achieved with a sentence of home



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confinement, rather than active incarceration. As stated above, the defendant’s actions on January

6th were inexcusable, however the surrounding circumstances, to include the defendant’s aid to

law enforcement inside the building and his statements directing other rioters not to engage in

violence, all assure the government that a sentence of home detention is appropriate.

           E. The Need to Avoid Unwarranted Sentencing Disparities

       As the Court is aware, the government has charged hundreds of individuals for their roles

in this one-of-a-kind assault on the Capitol, ranging from unlawful entry misdemeanors, such as

in this case, to assault on law enforcement officers, to conspiracy to corruptly interfere with

Congress. 6 Each offender must be sentenced based on their individual circumstances, but with the

backdrop of the January 6 riot in mind. Moreover, each offender’s case will exist on a spectrum

that ranges from conduct meriting a probationary sentence to crimes necessitating years of

imprisonment. The misdemeanor defendants will generally fall on the lower end of that spectrum,

but misdemeanor breaches of the Capitol on January 6, 2021 were not minor crimes. A

probationary sentence should not necessarily become the default. 7 Indeed, the government invites


6
   Attached to this supplemental sentencing memorandum is a table providing additional
information about the sentences imposed on other Capitol breach defendants. That table also
shows that the requested sentence here would not result in unwarranted sentencing disparities. See,
e.g., United States v. Hatley, 1:21-cr-98 (TFH), Tr. 12/16/21 at 3 (“it’s a good guideline for the
Court to understand the variety of sentences that have been given [referencing the government’s
sentencing chart]”) (statement of Judge Hogan).
7
  Early in this investigation, the Government made a very limited number of plea offers in
misdemeanor cases that included an agreement to recommend probation in United States v. Anna
Morgan-Lloyd, 1:21-cr-00164(RCL); United States v. Valerie Elaine Ehrke, 1:21-cr-
00097(PFF); United States v. Donna Sue Bissey, 1:21-cr-00165(TSC), United States v. Douglas
K. Wangler, 1:21-cr-00365(DLF), and United States v. Bruce J. Harrison, 1:21-cr-00365(DLF).
The government is abiding by its agreements in those cases, but has made no such agreement in
this case. Cf. United States v. Rosales-Gonzales, 801 F.3d 1177, 1183 (9th Cir. 2015) (no
unwarranted sentencing disparities under 18 U.S.C. § 3553(a)(6) between defendants who plead
guilty under a “fast-track” program and those who do not given the “benefits gained by the
government when defendants plead guilty early in criminal proceedings”) (citation omitted).

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the Court to join Judge Lamberth’s admonition that “I don’t want to create the impression that

probation is the automatic outcome here because it’s not going to be.” United States v. Anna

Morgan-Lloyd, 1:21-cr-00164 (RCL), Tr. 6/23/2021 at 19; see also United States v. Valerie Ehrke,

1:21-cr-00097 (PFF), Tr. 9/17/2021 at 13 (“Judge Lamberth said something to the effect . . . ‘I

don't want to create the impression that probation is the automatic outcome here, because it's not

going to be.’ And I agree with that. Judge Hogan said something similar.”) (statement of Judge

Friedman).

       For one thing, although all the other defendants discussed below participated in the Capitol

breach on January 6, 2021, many salient differences—such as how a defendant entered the Capitol,

how long she remained inside, the nature of any statements she made (on social media or

otherwise), whether she destroyed evidence of his participation in the breach, etc.—help explain

the differing recommendations and sentences.         And as that discussion illustrates, avoiding

unwarranted disparities requires the courts to consider not only a defendant’s “records” and

“conduct” but other relevant sentencing criteria, such as a defendant’s expression of remorse or

cooperation with law enforcement. See United States v. Hemphill, 514 F.3d 1350, 1365 (D.C. Cir.

2008) (no unwarranted disparity regarding lower sentence of codefendant who, unlike defendant,

pleaded guilty and cooperated with the government).

       Moreover, assessing disparities, and whether they are unwarranted, requires a sufficient

pool of comparators. In considering disparity, a judge cannot “consider all of the sentences not yet

imposed.” United States v. Godines, 433 F.3d 68, 69–71 (D.C. Cir. 2006). “The most a judge can

do is consider those other sentences that do exist,” and “[t]he comparable sentences will be much

smaller in the early days of any sentencing regime than in the later.” Id.; see generally United




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States v. Accardi, 669 F.3d 340, 346 (D.C. Cir. 2012) (“Without more, two allegedly similar cases

constitute too small a sample size to support a finding of an ‘unwarranted disparity’ in sentences.”).

In cases for which the Sentencing Guidelines apply, “[t]he best way to curtail ‘unwarranted’

disparities is to follow the Guidelines, which are designed to treat similar offenses and offenders

similarly.” United States v. Bartlett, 567 F.3d 901, 908 (7th Cir. 2009). See id. (“A sentence within

a Guideline range ‘necessarily’ complies with § 3553(a)(6).”).

       Sentencing courts are permitted to consider sentences imposed on co-defendants in

assessing disparity. E.g., United States v. Knight, 824 F.3d 1105, 1111 (D.C. Cir. 2016); United

States v. Mejia, 597 F.3d 1329, 1343-44 (D.C. Cir. 2010); United States v. Bras, 483 F.3d 103,

114 (D.C. Cir. 2007). The Capitol breach was sui generis: a mass crime with significant

distinguishing features, including the historic assault on the seat of legislative branch of federal

government, the vast size of the mob, the goal of impeding if not preventing the peaceful transfer

of Presidential power, the use of violence by a substantial number of rioters against law

enforcement officials, and large number of victims. Thus, even though many of the defendants

were not charged as conspirators or as codefendants, the sentences handed down for Capitol breach

offenses is an appropriate group for purposes of measuring disparity of any future sentence.

       While no previously sentenced case contains the same balance of aggravating and

mitigating factors present here, the Court may also consider the sentence imposed on Rachael Pert

(21-cr-139(TNM)) for reference. In that case, Pert also traveled from out of state in order to attend

the “Stop the Steal” rally, walked to the Capitol with the crowd, and ultimately entered the U.S.

Capitol Building with a large group of fellow rioters. Similar to Witcher, while inside the building

Pert did not destroy property or take part in violence. Moreover, like Witcher, Pert was cooperative

with law enforcement from the beginning of the investigation and entered into a plea agreement at



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the first available opportunity. Pert entered a guilty plea to one count of 18 U.S.C. §1752(a)(1) and

the government requested a sentence of three month’s home detention, 24 months’ probation, 40

hours of community service, and $500 restitution. Pert was ultimately sentenced to 24 months’

probation, 100 hours of community service, and $500 restitution.

       The Court may also consider the sentence imposed on Danielle Doyle (21-cr-324(TNM))

for reference. In Doyle, like the instant case, the defendant entered the U.S. Capitol after rioters

had forcibly breached the building, stayed in the Capitol for roughly twenty-four minutes, and

yelled at law enforcement while inside the building. Moreover, Doyle photographed and recorded

rioters destroying property and breaching the building and texted an open-source video in which

she appears to another individual more than a month after the riots occurred. At sentencing the

government recommended two months home detention, 36 months’ probation, 60 hours

community service and $500 restitution. The Court sentenced Doyle to two months’ probation, a

$3,000 fine and $500 in restitution.

       In any event, the goal of minimizing unwarranted sentencing disparities in § 3553(a)(6) is

“only one of several factors that must be weighted and balanced,” and the degree of weight is

“firmly committed to the discretion of the sentencing judge.” United States v. Coppola, 671 F.3d

220, 254 (2d Cir. 2012). The § 3553(a) factors that this Court assesses are “open-ended,” with the

result that “different district courts may have distinct sentencing philosophies and may emphasize

and weigh the individual § 3553(a) factors differently; and every sentencing decision involves its

own set of facts and circumstances regarding the offense and the offender.” United States v.

Gardellini, 545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will sentence

differently—differently from the Sentencing Guidelines range, differently from the sentence an




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appellate court might have imposed, and differently from how other district courts might have

sentenced that defendant.” Id. at 1095.

   V.      Conclusion

        Sentencing requires the Court to carefully balance the § 3553(a) factors. As explained

herein, some of those factors support a sentence of incarceration and some support a more lenient

sentence. Balancing these factors, the government recommends that this Court sentence Jeffrey

Witcher to sixty days home detention, 36 months’ probation, 60 hours of community service and

$500 in restitution. Such a sentence protects the community, promotes respect for the law, and

deters future crime by imposing restrictions on his liberty as a consequence of his behavior, while

recognizing his early acceptance of responsibility.



                                             Respectfully submitted,

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Table 1: Cases in which the government recommended a probation sentence without home detention 1

    Defendant Name          Case Number                 Offense of Conviction            Government                        Sentence Imposed
                                                                                         Recommendation
    Morgan-Lloyd, Anna      1:21-CR-00164-RCL           40 U.S.C. § 5104(e)(2)(G)        36 months’ probation, 40          36 months’ probation, 120
                                                                                         hours community service,          community service hours, $500
                                                                                         $500 restitution                  restitution
    Ehrke, Valerie          1:21-CR-00097-PLF           40 U.S.C. § 5104(e)(2)(G)        36 months’ probation, 40          36 months’ probation, $500
                                                                                         hours community service,          restitution
                                                                                         $500 restitution
    Bissey, Donna           1:21-CR-00165-TSC           40 U.S.C. § 5104(e)(2)(G)        36 months’ probation, 40          14 days incarceration, 60 hours
                                                                                         hours community service,          community service, $500 restitution
                                                                                         $500 restitution
    Hiles, Jacob            1:21-CR-00155-ABJ           40 U.S.C. § 5104(e)(2)(G)        36 months’ probation, 60          24 months’ probation, 60 hours
                                                                                         hours community service,          community service, $500 restitution
                                                                                         $500 restitution
    Wangler, Douglas        1:21-CR-00365-DLF           40 U.S.C. § 5104(e)(2)(G)        36 months’ probation, 40          24 months’ probation, 60 hours of
                                                                                         hours community service,          community service, $500 restitution
                                                                                         $500 restitution
    Harrison, Bruce         1:21-CR-00365-DLF           40 U.S.C. § 5104(e)(2)(G)        48 months’ probation, 40          24 months’ probation, 60 hours of
                                                                                         hours community service,          community service, $500 restitution
                                                                                         $500 restitution


Table 2: Cases in which the government recommended a probation sentence with home detention
    Defendant Name          Case Number                 Offense of Conviction            Government                        Sentence Imposed
                                                                                         Recommendation



1
  Early in this investigation, the Government made a very limited number of plea offers in misdemeanor cases that included an agreement to recommend probation
in United States v. Anna Morgan-Lloyd, 1:21-cr-00164(RCL); United States v. Valerie Elaine Ehrke, 1:21-cr-00097(PFF); United States v. Donna Sue Bissey, 1:21-
cr-00165(TSC), United States v. Douglas K. Wangler, 1:21-cr-00365(DLF), and United States v. Bruce J. Harrison, 1:21-cr-00365(DLF). The government is
abiding by its agreements in those cases, but has made no such agreement in this case. Cf. United States v. Rosales-Gonzales, 801 F.3d 1177, 1183 (9th Cir. 2015)
(no unwarranted sentencing disparities under 18 U.S.C. § 3553(a)(6) between defendants who plead guilty under a “fast-track” program and those who do not given
the “benefits gained by the government when defendants plead guilty early in criminal proceedings”) (citation omitted).

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    Bustle, Jessica     1:21-CR-00238-TFH     40 U.S.C. § 5104(e)(2)(G)   3 months home detention,       2 months of home detention, 24
                                                                          36 months’ probation, 40       months’ probation, 40 hours
                                                                          hours community service,       community service, $500 restitution
                                                                          $500 restitution
    Bustle, Joshua      1:21-CR-00238-TFH     40 U.S.C. § 5104(e)(2)(G)   1 month home detention, 36     1 month home detention, 24 months’
                                                                          months’ probation, 40          probation, 40 hours community
                                                                          hours community service,       service, $500 restitution
                                                                          $500 restitution
    Doyle, Danielle     1:21-CR-00324-TNM     40 U.S.C. § 5104(e)(2)(G)   2 months home detention,       2 months’ probation, $3,000 fine,
                                                                          36 months’ probation, 60       $500 restitution
                                                                          hours community service,
                                                                          $500 probation
    Bennett, Andrew     1:21-CR-00227-JEB     40 U.S.C. § 5104(e)(2)(G)   3 months home detention,       3 months of home detention,
                                                                          36 months’ probation, 60       24 months’ probation, 80 hours
                                                                          hours community service,       community service, $500 restitution
                                                                          $500 restitution
    Mazzocco, Matthew   1:21-CR-00054-TSC     40 U.S.C. § 5104(e)(2)(G)   3 months home detention,       45 days incarceration, 60 hours
                                                                          36 months’ probation, 60       community service 2, $500 restitution
                                                                          hours community service,
                                                                          $500 restitution
    Rosa, Eliel         1:21-CR-00068-TNM     40 U.S.C. § 5104(e)(2)(G)   1 month home detention, 36     12 months’ probation, 100 hours
                                                                          months’ probation, 60          community service, $500 restitution
                                                                          hours community service,
                                                                          $500 restitution
    Gallagher, Thomas   1:21-CR-00041-CJN     40 U.S.C. § 5104(e)(2)(G)   1 month home detention, 36     24 months’ probation, 60 hours
                                                                          months’ probation, 60          community service, $500 restitution
                                                                          hours community service, a
                                                                          fine, and $500 restitution
    Vinson, Thomas      1:21-CR-00355-RBW     40 U.S.C. § 5104(e)(2)(G)   3 months home detention,       5 years’ probation, $5,000 fine, $500
                                                                          3 years’ probation, 60 hours   restitution, 120 hours community
                                                                          community service, $500        service
                                                                          restitution


2
 The government believes the Court’s 10/4/2021 minute entry in this case is incorrect and the sentence requires 60 hours of community
service, not 60 months.

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Dillon, Brittiany    1:21-CR-00360-DLF   40 U.S.C. § 5104(e)(2)(D)   3 months home detention,     2 months home detention, 3 years’
                                                                     36 months’ probation, 60     probation, $500 restitution
                                                                     hours community service,
                                                                     $500 restitution
Sanders, Jonathan    1:21-CR-00384-CJN   40 U.S.C. § 5104(e)(2)(G)   2 months home detention,     36 months’ probation, 60 hours
                                                                     36 months’ probation, 60     community service, $500 restitution
                                                                     hours community service,
                                                                     $500 restitution
Fitchett, Cindy      1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)   2 months home detention,     1 month home detention, 36 months’
                                                                     36 months’ probation, 60     probation, 60 hours community
                                                                     hours community service,     service, $500 restitution
                                                                     $500 restitution
Sweet, Douglas       1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)   3 months home detention,     1 month home detention, 36 months’
                                                                     36 months’ probation, 60     probation, 60 hours community
                                                                     hours community service,     service, $500 restitution
                                                                     $500 restitution
Cordon, Sean         1:21-CR-00269-TNM   40 U.S.C. § 5104(e)(2)(G)   3 months home detention,     2 months’ probation, $4000 fine
                                                                     36 months’ probation, 60
                                                                     hours community service,
                                                                     $500 restitution
Wilkerson, John IV   1:21-CR-00302-CRC   40 U.S.C. § 5104(e)(2)(G)   2 months home detention,     36 months’ probation, $2500 fine, 60
                                                                     36 months’ probation, 60     hours community service, $500
                                                                     hours community service,     restitution
                                                                     $500 restitution
Jones, Caleb         1:21-CR-00321-JEB   40 U.S.C. § 5104(e)(2)(G)   3 months home detention,     2 months home detention, 24
                                                                     36 months’ probation, 60     months’ probation, $500 restitution,
                                                                     hours community service,     100 hours community service
                                                                     $500 restitution
Brown, Terry         1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)   45 days home detention, 36   1 month home detention, 36 months’
                                                                     months’ probation, 60        probation, $500 restitution, 60 hours
                                                                     hours community service,     community service
                                                                     $500 restitution
Wrigley, Andrew      1:21-CR-00042-ABJ   40 U.S.C. § 5104(e)(2)(G)   2 months home detention,     18 months’ probation, $2000 fine,
                                                                     36 months’ probation, 60     $500 restitution, 60 hours
                                                                     hours community service,     community service
                                                                     $500 restitution

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Parks, Jennifer     1:21-CR-00363-CJN   40 U.S.C. § 5104(e)(2)(G)   1 month home detention, 36   24 months’ probation, $500
                                                                    months’ probation, 60        restitution, 60 hours community
                                                                    hours community service,     service
                                                                    $500 restitution
Reimler, Nicholas   1:21-CR-00239-RDM   40 U.S.C. § 5104(e)(2)(G)   2 months home detention,     1 month home detention, 36 months’
                                                                    36 months’ probation, 60     probation, 60 hours community
                                                                    hours community service,     service, $500 restitution
                                                                    $500 restitution
Miller, Brandon     1:21-CR-00266-TSC   40 U.S.C. § 5104(e)(2)(G)   3 months home detention,     20 days incarceration, 60 hours
                                                                    36 months’ probation, 60     community service, $500 restitution
                                                                    hours community service,
                                                                    $500 restitution
Miller, Stephanie   1:21-CR-00266-TSC   40 U.S.C. § 5104(e)(2)(G)   2 months home detention,     14 days incarceration, 60 hours
                                                                    36 months’ probation, 60     community service, $500 restitution
                                                                    hours community service,
                                                                    $500 restitution
Hatley, Andrew      1:21-CR-00098-TFH   40 U.S.C. § 5104(e)(2)(G)   2 months home detention,     36 months’ probation, $500
                                                                    36 months’ probation, 60     restitution
                                                                    hours community service,
                                                                    $500 restitution
Pert, Rachael       1:21-CR-00139-TNM   18 U.S.C. § 1752(a)(1)      3 months home detention,     24 months’ probation, 100 hours
                                                                    24 months’ probation, 40     community service, $500 restitution
                                                                    hours community service,
                                                                    $500 restitution
Winn, Dana          1:21-CR-00139-TNM   18 U.S.C. § 1752(a)(1)      3 months home detention,     10 days incarceration (weekends), 12
                                                                    24 months’ probation, 40     months’ probation, 100 hours
                                                                    hours community service,     community service, $500 restitution
                                                                    $500 restitution
Wickersham, Gary    1:21-CR-00606-RCL   40 U.S.C. § 5104(e)(2)(G)   4 months home detention,     3 months home detention, 36
                                                                    36 months’ probation, 60     months’ probation, $2000 fine, $500
                                                                    hours community service,     restitution
                                                                    $500 restitution
Schwemmer, Esther   1:21-CR-00364-DLF   40 U.S.C. § 5104(e)(2)(G)   1 month home detention, 36   24 months’ probation, 60 hours
                                                                    months’ probation, 60        community service, $500 restitution
                                                                    hours community service,
                                                                    $500 restitution

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 Kelly, Kenneth         1:21-CR-00331-CKK       40 U.S.C. § 5104(e)(2)(G)    2 months home detention,      2 months home detention, 12
                                                                             36 months’ probation, 60      months’ probation, 60 hours
                                                                             hours community service,      community service, $500 restitution
                                                                             $500 restitution


Table 3: Cases in which the government recommended a sentence of incarceration
 Defendant Name        Case Number             Offense of Conviction        Government                    Sentence Imposed
                                                                            Recommendation
 Curzio, Michael       1:21-CR-00041-CJN       40 U.S.C. § 5104(e)(2)(G)    Not applicable                6 months incarceration (time served),
                                                                                                          $500 restitution
 Hodgkins, Paul        1:21-CR-00188-RDM       18 U.S.C. § 1512(c)(2)       18 months incarceration       8 months incarceration, 24 months’
                                                                                                          supervised release, $2000 restitution
 Dresch, Karl          1:21-CR-00071-ABJ       40 U.S.C. § 5104(e)(2)(G)    6 months incarceration        6 months incarceration (time served),
                                                                            (time served), $500           $500 restitution
                                                                            restitution
 Jancart, Derek        1:21-CR-00148-JEB       40 U.S.C. § 5104(e)(2)(D)    4 months incarceration,       45 days incarceration, $500
                                                                            $500 restitution              restitution
 Rau, Erik             1:21-CR-00467-JEB       40 U.S.C. § 5104(e)(2)(D)    4 months incarceration,       45 days incarceration, $500
                                                                            $500 restitution              restitution
 Hemenway, Edward      1:21-CR-00049-TSC       40 U.S.C. § 5104(e)(2)(G)    30 days incarceration, $500   45 days incarceration, 60 hours
                                                                            restitution                   community service, $500 restitution
 Reeder, Robert        1:21-CR-00166-TFH       40 U.S.C. § 5104(e)(2)(G)    6 months incarceration,       3 months incarceration, $500
                                                                            $500 restitution              restitution
 Bauer, Robert         1:21-CR-00049-TSC       40 U.S.C. § 5104(e)(2)(G)    30 days incarceration, $500   45 days incarceration, 60 hours
                                                                            restitution                   community service, $500 restitution
 Smocks, Troy          1:21-CR-00198-TSC       18 U.S.C. § 875(c)           Low end of sentencing         14 months incarceration, 36 months
                                                                            guidelines as determined by   supervised release
                                                                            the court, 36 months
                                                                            supervised release
 Vinson, Lori          1:21-CR-00355-RBW       40 U.S.C. § 5104(e)(2)(G)    30 days incarceration, $500   5 years’ probation, $5,000 fine, $500
                                                                            restitution                   restitution, 120 hours community
                                                                                                          service
 Griffith, Jack        1:21-CR-00204-BAH       40 U.S.C. § 5104(e)(2)(G)    3 months incarceration,       90 days home detention, 36 months’
                                                                            $500 restitution              probation, $500 restitution


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Torrens, Eric        1:21-CR-00204-BAH   40 U.S.C. § 5104(e)(2)(G)   2 weeks incarceration, $500   90 days home detention, 36 months’
                                                                     restitution                   probation, $500 restitution
Gruppo, Leonard      1:21-CR-00391-BAH   40 U.S.C. § 5104(e)(2)(G)   30 days incarceration, $500   90 days home detention, 24 months’
                                                                     restitution                   probation, $3,000 fine, $500
                                                                                                   restitution
Ryan, Jenna          1:21-CR-00050-CRC   40 U.S.C. § 5104(e)(2)(G)   60 days incarceration, $500   60 days incarceration, $1000 fine,
                                                                     restitution                   $500 restitution
Croy, Glenn          1:21-CR-00162-BAH   40 U.S.C. § 5104(e)(2)(G)   60 days incarceration, $500   90 days home detention, 14 days
                                                                     restitution                   community correctional facility, 36
                                                                                                   months’ probation, $500 restitution
Stotts, Jordan       1:21-CR-00272-TJK   40 U.S.C. § 5104(e)(2)(G)   45 days incarceration, $500   60 days home detention, 24 months’
                                                                     restitution                   probation, $500 restitution, 60 hours
                                                                                                   community service
Fairlamb, Scott      1:21-CR-00120-RCL   18 U.S.C. § 1512(c)(2),     44 months incarceration, 36   41 months incarceration, 36 months
                                         18 U.S.C. § 111(a)(1)       months’ supervised release,   supervised release, $2000 restitution
                                                                     $2000 fine
Camper, John         1:21-CR-00325-CKK   40 U.S.C. § 5104(e)(2)(G)   60 days incarceration, $500   60 days incarceration, $500
                                                                     restitution                   restitution, 60 hours community
                                                                                                   service
Rukstales, Bradley   1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)   45 days incarceration, $500   30 days incarceration, $500
                                                                     restitution                   restitution
Cordon, Kevin        1:21-CR-00277-TNM   18 U.S.C. § 1752(a)(1)      30 days incarceration, 12     12 months’ probation, 100 hours
                                                                     months supervised release,    community service, $4000 fine, $500
                                                                     $500 restitution              restitution
Chansley, Jacob      1:21-CR-00003-RCL   18 U.S.C. § 1512(c)(2)      51 months incarceration, 36   41 months incarceration, 36 months
                                                                     months supervised release,    supervised release, $2000 restitution
                                                                     $2000 restitution
Mish, David          1:21-CR-00112-CJN   40 U.S.C. § 5104(e)(2)(G)   30 days incarceration, $500   30 days incarceration, $500
                                                                     restitution                   restitution
Lolos, John          1:21-CR-00243-APM   40 U.S.C. § 5104(e)(2)(G)   30 days incarceration, $500   14 days incarceration, $500
                                                                     restitution                   restitution
Scavo, Frank         1:21-CR-00254-RCL   40 U.S.C. § 5104(e)(2)(G)   14 days incarceration, $500   60 days incarceration, $5000 fine,
                                                                     restitution                   $500 restitution
Abual-Ragheb,        1:21-CR-00043-CJN   40 U.S.C. § 5104(e)(2)(G)   30 days incarceration, $500   60 days home detention, 36 months’
Rasha                                                                restitution                   probation, 60 hours community
                                                                                                   service, $500 restitution

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Peterson, Russell     1:21-CR-00309-ABJ   40 U.S.C. § 5104(e)(2)(G)    14 days incarceration, $500   30 days incarceration, $500
                                                                       restitution                   restitution
Simon, Mark           1:21-CR-00067-ABJ   40 U.S.C. § 5104(e)(2)(G)    45 days incarceration, $500   35 days incarceration, $500
                                                                       restitution                   restitution
Ericson, Andrew       1:21-CR-00506-TNM   40 U.S.C. § 5104(e)(2)(G)    60 days incarceration, $500   20 days incarceration (consecutive
                                                                       restitution                   weekends), 24 months’ probation,
                                                                                                     $500 restitution
Pham, Tam Dinh        1:21-CR-00109-TJK   40 U.S.C. § 5104(e)(2)(G)    60 days incarceration, $500   45 days incarceration, $1000 fine,
                                                                       restitution                   $500 restitution
Nelson, Brandon       1:21-CR-00344-JDB   40 U.S.C. § 5104(e)(2)(G)    14 days incarceration, $500   24 months’ probation, $2500 fine,
                                                                       restitution                   $500 restitution, 50 hours
                                                                                                     community service
Markofski, Abram      1:21-CR-00344-JDB   40 U.S.C. § 5104(e)(2)(G)    14 days incarceration, $500   24 months’ probation, $1000 fine,
                                                                       restitution                   $500 restitution, 50 hours
                                                                                                     community service
Marquez, Felipe       1:21-CR-00136-RC    18 U.S.C. § 1752(a)(2)       4 months incarceration, 1     3 months home detention, 18
                                                                       year supervised release,      months’ probation, $500 restitution
                                                                       $500 restitution
Meredith, Cleveland   1:21-CR-00159-ABJ   18 U.S.C. § 875(c)           Midrange of 37-46 months      28 months incarceration, 36 months
                                                                       incarceration                 supervised release
Sorvisto, Jeremy      1:21-CR-00320-ABJ   40 U.S.C. § 5104(e)(2)(G)    30 days incarceration, $500   30 days incarceration, $500
                                                                       restitution                   restitution
Mariotto, Anthony     1:21-CR-00094-RBW   40 U.S.C. § 5104(e)(2)(G)    4 months incarceration, 36    36 months’ probation, 250 hours
                                                                       months’ probation, $500       community service, $5000 fine, $500
                                                                       restitution
Courtright, Gracyn    1:21-CR-00072-CRC   18 U.S.C. § 1752(a)(1)       6 months incarceration, 12    1 month incarceration, 12 months’
                                                                       months’ supervised release,   supervised release, 60 hours
                                                                       60 hours community            community service, $500 restitution
                                                                       service, $500 restitution
Palmer, Robert        1:21-CR-00328-TSC   18 U.S.C. § 111(a) and (b)   63 months incarceration, 36   63 months incarceration, 36 months
                                                                       months supervised release,    supervised release, $2000 restitution,
                                                                       $2000 restitution
Thompson, Devlin      1:21-CR-00461-RCL   18 U.S.C. § 111(a) and (b)   48 months incarceration, 36   46 months incarceration, 36 months
                                                                       months supervised release,    supervised release, $2000 restitution
                                                                       $2000 restitution


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Edwards, Gary        1:21-CR-00366-JEB   40 U.S.C. § 5104(e)(2)(G)   14 days incarceration, 24     12 months’ probation, $2500 fine,
                                                                     months’ probation, $500       200 hours of community service,
                                                                     restitution                   $500 restitution
Tutrow, Israel       1:21-CR-00310-ABJ   40 U.S.C. § 5104(e)(2)(G)   60 days incarceration, $500   2 months home detention, 36
                                                                     restitution                   months’ probation, $500 restitution
Ridge IV, Leonard    1:21-CR-00406-JEB   18 U.S.C. § 1752(a)(1)      45 days incarceration, $500   14 days consecutive incarceration,
                                                                     restitution                   $1000 fine, 1 year supervised
                                                                                                   release, 100 hours community
                                                                                                   service, $500 restitution
Perretta, Nicholas   1:21-CR-00539-TSC   40 U.S.C. § 5104(e)(2)(G)   30 days incarceration, $500   30 days incarceration, $500
                                                                     restitution                   restitution
Vukich, Mitchell     1:21-CR-00539-TSC   40 U.S.C. § 5104(e)(2)(G)   30 days incarceration, $500   30 days incarceration, $500
                                                                     restitution                   restitution
Spencer, Virginia    1:21-CR-00147-CKK   40 U.S.C. § 5104(e)(2)(G)   3 months incarceration, 36    90 days incarceration, $500
                                                                     months’ probation, $500       restitution
                                                                     restitution
Kostolsky, Jackson   1:21-CR-00197-DLF   40 U.S.C. § 5104(e)(2)(G)   30 days incarceration, $500   30 days home detention, 36 months’
                                                                     restitution                   probation, $500 restitution
Rusyn, Michael       1:21-CR-00303-ABJ   40 U.S.C. § 5104(e)(2)(G)   45 days incarceration, $500   60 days home detention, 24 months’
                                                                     restitution                   probation, $2000 fine
Tryon, William       1:21-CR-00420-RBW   18 U.S.C. § 1752(a)(1)      30 days incarceration, 12     50 days incarceration, 12 months
                                                                     months supervised release,    supervised release, $1000 fine, $500
                                                                     $500 restitution              restitution
Sells, Tanner        1:21-CR-00549-ABJ   40 U.S.C. § 5104(e)(2)(G)   14 days incarceration, 36     90 days home detention, 24 months’
                                                                     months’ probation, 60         probation, 50 hours community
                                                                     hours community service,      service, $1500 fine, $500 restitution
                                                                     $500 restitution
Walden, Jon          1:21-CR-00548-DLF   40 U.S.C. § 5104(e)(2)(G)   At least two weeks            30 days home detention, 36 months’
                                                                     incarceration, 60 hours       probation, 60 hours community
                                                                     community service, $500       service, $500 restitution
                                                                     restitution




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Wiedrich, Jacob      1:21-CR-00581-TFH   40 U.S.C. § 5104(e)(2)(G)   3 months incarceration, 36   3 months home detention, 36
                                                                     months’ probation, $500      months’ probation, 100 hours
                                                                     restitution                  community service, $500 restitution
Stepakoff, Michael   1:21-CR-00096-RC    40 U.S.C. § 5104(e)(2)(G)   14 days incarceration        2 months home detention
                                                                                                  12 months probation; $500
                                                                                                  restitution; $742 fine
Scirica, Anthony     1:21-CR-00457-CRC   40 U.S.C. § 5104(e)(2)(G)   15 days incarceration; 4     15 days incarceration
                                                                     months’ home detention       $500 restitutio; $500 fine




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